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         9   MYRA E. RODRIGUEZ

       10                                UNITED STATES DISTRICT COURT

       11                         FOR THE EASTERN DISTRICT OF CALIFORNIA

       12    MYRA E. RODRIGUEZ, an individual,          )      Case No.: __________
       13                                               )
       14                          Plaintiff,           )
       15                                               )      PLAINTIFF’S COMPLAINT FOR:
       16                             vs.               )
       17                                               )      Filing Fraudulent Information Return in
       18    ORACLES OF TRUTH dba ORACLES               )      in Violation of 26 U.S.C. § 7434
       19    OF TRUTH ACADEMY, a nonprofit              )
       20    California corporation; and DOES 1 through )
       21    50, inclusive,                             )
       22                                               )
       23                        Defendants.            )
       24                                               )      [Demand for Jury Trial]
       25                                               )
       26    _____________________________________)




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         1          Plaintiff, MYRA E. RODRIGUEZ (hereinafter referred to as “Plaintiff” or “RODRIGUEZ”),

         2   brings this Complaint against Defendants, ORACLES OF TRUTH dba ORACLES OF TRUTH

         3   ACADEMY, a nonprofit California corporation (hereinafter referred to as “Defendant” or “OTA”), and

         4   DOES 1 through 50, inclusive (hereinafter collectively referred to as “Defendants”), and would

         5   respectfully show unto the Honorable Court as follows:

         6                                             INTRODUCTION

         7          1.      The purpose of this action is to get damages for losses caused by the Defendants’ filing of

         8   Fraudulent Information Return in Plaintiff’s Internal Revenue Service (“IRS”) Form 1099-NEC for the

         9   year 2021 pursuant to 26 U.S.C. § 7434(b). Defendants willfully filed a Fraudulent Information Return

       10    in Plaintiff’s Form 1099-NEC for the year 2021 that listed the wrong amount of $4,692.00 instead of

       11    $1,559.75.

       12                                                   PARTIES

       13           2.      Plaintiff RODRIGUEZ, at all times relevant hereto, an individual, resident of California,

       14    and an employee of Defendants OTA and DOES 1 through 50, in San Joaquin County, California.

       15           3.      Defendant OTA, at all times relevant hereto, a nonprofit California corporation,

       16    conducting business in San Joaquin County, California. Its principal place of business is located at 110.

       17    N. San Joaquin St., Ste. 416, Stockton, CA 95202.

       18           4.      Plaintiff is ignorant of the true names and capacities of Defendants sued herein as DOES

       19    1 through 50, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiff will seek

       20    the Court’s leave to amend this Complaint to allege the true names and capacities of Defendants sued

       21    herein as DOES 1 through 50 when ascertained. Plaintiff is informed and believes, and thereon alleges,

       22    that the Defendants DOES 1 through 50, inclusive, are responsible in some manner for one or more of

       23    the events and happenings that proximately caused the injuries and damages alleged herein.



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         1          5.      The officers, agents, and/or employees of the Defendants and each of them acting on

         2   behalf of the Defendants acted within the course and scope of their employment, and they personally

         3   participated and were authorized by OTA in the conduct alleged herein on behalf of the Defendants.

         4   Consequently, all Defendants are jointly and severally liable to Plaintiff for the loss sustained as a

         5   proximate result of the conduct of the Defendants’ officers, agents, and/or employees.

         6          6.      Plaintiff is informed and believes, and upon such information and belief, alleges that each

         7   Defendant, directly or indirectly, or through an agent or other person, employed Plaintiff and exercised

         8   control over wages, hours, and working conditions. Plaintiff is informed and believes, and upon such

         9   information and belief, alleges that each Defendant acted in all respects pertinent to this action as an

       10    agent of the other Defendants. Each Defendant carried out a joint scheme, business plan, or policy in all

       11    respects pertinent hereto, and the acts of each Defendant are legally attributable to the other Defendants.

       12                                        JURISDICTION AND VENUE

       13           7.      The District Court has jurisdiction over the instant action pursuant to 28 U.S. Code § 1331

       14    because it arises out of a violation of 26 U.S.C. § 7434 for willful filing of false information return.

       15           8.      The venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial

       16    part of the events or omissions giving rise to the claims occurred in the Eastern District of California.

       17    The venue is also proper pursuant to 18 U.S.C. § 1965.

       18                             FACTS COMMON TO ALL CAUSES OF ACTION

       19           9.      On July 29, 2020, Plaintiff RODRIGUEZ started her employment as a contingent worker

       20    and became a full-time employee on February 1, 2021. After that, Plaintiff started working as Program

       21    Coordinator/Program Coordinator Manager with OTA. Plaintiff’s job responsibilities included creating

       22    program schedules for each client, collaborating with a career specialist and system navigator, managing

       23    client members through job readiness and internship process, marketing programs, preparing client


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         1   member process reports, media specialist, translating documents, admission coordinator, GED website

         2   projects, etc.

         3           10.       During Plaintiff’s employment with Defendants, she was supervised by CEO Tammé

         4   Shinhuri (hereinafter referred to as “Shinhuri”). Shinhuri exercised a management/supervisory role over

         5   Plaintiff throughout her employment at OTA.

         6           11.       Plaintiff worked 5.5 hours a day, and her salary was increased from $17.00 to $22.00 per

         7   hour, effective February 1, 2021.

         8           12.       OTA paid Plaintiff $1,559.75 as salary from January 1, 2021–January 29, 2021.

         9           13.       Further, OTA did not pay Plaintiff’s salary and overtime wages due from February 1,

       10    2021, through April 30, 2021.

       11            14.       As a result, on May 3, 2021, Plaintiff resigned from her employment and asked Shinhuri

       12    when she would receive her salary from February 1, 2021, through April 30, 2021. Shinhuri responded

       13    that she would mail it to Plaintiff. However, Plaintiff has not received her final wages from OTA yet.

       14            15.       Thereafter, OTA filed a Fraudulent Information Return in Plaintiff’s Form 1099-NEC for

       15    2021, which listed the incorrect amount of $4,692.00. A true and correct copy of Plaintiff’s Form 1099-

       16    NEC for 2021 is attached hereto as Exhibit “A” and is fully incorporated herein by reference.

       17            16.       However, Plaintiff only received her January paycheck, and her January 2021 salary

       18    statement shows that OTA paid her an amount of $1,559.75 for January 1, 2021–January 29, 2021. A

       19    true and correct copy of Plaintiff’s Monthly Payroll Statement is attached hereto as Exhibit “B” and is

       20    fully incorporated herein by reference.

       21            17.       On or about October 24, 2022, Plaintiff sent a Demand Letter to OTA to rectify Plaintiff’s

       22    Form 1099-NEC with the correct payment amount and report this correction to IRS.

       23            18.       OTA did not rectify Plaintiff’s Form 1099-NEC with the correct payment amount to date.



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         1           19.     As a direct and proximate result of Defendants’ willful, knowing, and intentional acts and

         2   omissions, Plaintiff has suffered and continues to suffer physical and mental pain, anxiety, anguish,

         3   humiliation, embarrassment, and indignity.

         4                                              CAUSES OF ACTION

         5                                     FIRST CAUSE OF ACTION
         6            (Filing Fraudulent Information Return in Form 1099-NEC for 2021 in Violation of
         7                                           26 U.S.C. § 7434)
         8                                        (Against All Defendants)

         9           20.     Plaintiff repeats, realleges, and incorporates by reference the paragraphs 1–19 with the

       10    same force and effect as though fully set forth herein.

       11            21.     Pursuant to 26 U.S.C. § 7434(a), “If any person willfully files a fraudulent information

       12    return with respect to payments purported to be made to any other person, such other person may bring

       13    a civil action for damages against the person so filing such return.”

       14            22.     Pursuant to 26 U.S.C. § 7434(b), “In any action brought under subsection (a), upon a

       15    finding of liability on the part of the defendant, the defendant shall be liable to the plaintiff in an amount

       16    equal to the greater of $5,000 or the sum of—(1) any actual damages sustained by the plaintiff as a

       17    proximate result of the filing of the fraudulent information return (including any costs attributable to

       18    resolving deficiencies asserted as a result of such filing), (2) the costs of the action, and (3) in the court’s

       19    discretion, reasonable attorneys’ fees.

       20            23.     Defendant violated 26 U.S.C. § 7434 by knowingly, intentionally, and willfully

       21    submitting Fraudulent Information Return with respect to Plaintiff's Form 1099-NEC for 2021, which

       22    stated Plaintiff’s pay for January 1, 2021–January 29, 2021, was $4,692.00. [See Exhibit “A”]

       23            24.     However, Plaintiff’s January 2021 salary statement shows that OTA paid Plaintiff an

       24    amount of $1,559.75 for January 1, 2021–January 29, 2021. [See Exhibit “B”]

       25            25.     OTA listed the incorrect amount of $4,692.00 in Plaintiff's Form 1099-NEC for 2021


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         1   instead of $1,559.75.

         2          26.      On or about October 24, 2022, Plaintiff sent a Demand Letter to OTA to rectify Plaintiff’s

         3   Form 1099-NEC with the correct payment amount and report this correction to IRS.

         4          27.      OTA failed to rectify Plaintiff’s Form 1099-NEC with the correct payment amount to date.

         5          28.      Plaintiff is informed and believes, and thereon alleges, that Defendants fraudulently issued

         6   the Fraudulent Information Return in order to obtain unwarranted tax benefits and/or harm Plaintiff.

         7          29.      Moreover, Plaintiff seeks a determination from this Court pursuant to 26 U.S.C. § 7434(e)

         8   that the amount of the Fraudulent Information Return should have been $1,559.75.

         9          30.      As such, Plaintiff seeks her actual damages from Defendants in an amount to be proven

       10    at the time of trial pursuant to 26 U.S.C.§ 7434(b).

       11           31.      As a direct and proximate result of Defendants’ wrongful acts, pursuant to 26 U.S.C.§

       12    7434(b), Plaintiff demands: (a) the costs attributable to resolving deficiencies, damages resulting from

       13    any additional tax debt and additional time and expenses associated with any necessary correction, and

       14    any additional damages the Plaintiff is entitled to in the amount to be determined at the trial; (b) that

       15    Defendant be ordered to take all the necessary steps to correct the fraudulent information relating to

       16    Plaintiff; (c) Plaintiff’s reasonable attorneys’ fees, expert fees, costs and disbursements; and (d) for such

       17    further relief as the Court deems just and equitable.

       18                                         DEMAND FOR JURY TRIAL

       19           32.      Plaintiff hereby demands a trial by jury in this action.

       20                                             PRAYER FOR RELIEF

       21           WHEREFORE, Plaintiff, MYRA E. RODRIGUEZ, respectfully prays for relief against

       22    Defendants as follows:

       23             (i)    For damages against Defendants in an amount to be determined at the time of trial pursuant


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         1                  to 26 U.S.C.§ 7434(b);

         2          (ii)    For a determination from this Court pursuant to 26 U.S.C. § 7434(e) that the amount of

         3                  the Fraudulent Information Return should have been $1,559.75;

         4         (iii)    For an award of reasonable attorney’s fees and costs of suit herein;

         5         (iv)     For pre-judgment and post-judgment interest; and

         6          (v)     For such other and further relief as the Court deems just and proper.



         7   March 22, 2023                                       Respectfully submitted,
         8                                                        LAW OFFICES OF JEROME A. CLAY


        9                                                          /s/
       10                                                         JEROME ANTHONY CLAY, JR, ESQ.
       11                                                         Attorney for Plaintiff
       12                                                         MYRA E. RODRIGUEZ




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                          Exhibit “A”
                    (Form 1099-NEC for 2021)
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                              Exhibit “B”
   (Monthly Payroll Statement dated January 1, 2021–January 29, 2021)
                                        MONTHLY PAYROLL
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                                       for Myra Rodriguez Jonuory 2021


                          DECEMBER PAY PERIODS
WW    Start Date     End Date   Base   Extra    Total    Pay Rate           Pay
1-2 1/1/2021        1/15/2021   40.00 5.00     45.00     S 17.00       S 765.00
3-4 1/16/2021       1/29/2021   40.00 6.75     46.75     S 17.00       S 794.75

                                                          Subtotalls1,559.75


                                               Security Deposit L.:!:ls.: .o.:.=o.::.o_---'lsingle deduction


                                                           Net PayIS1,559.75



     Note: CWTworked 11.75 Extra hours. CWT started as a Full Time Employee on January 29th,
     2021. Rate increased on January 29th. CWT reque sted to sta rt new rat e on 2/1/21.
